Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 1 of 12




                                                EXHIBIT A
       Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 2 of 12


                                                                                                                                                     SUMAOC
                                        SUMMONS                                                                             FORCOURTUSEONLY ;
                                                                                                                        (SOL.0 PARA USO DS L.A.CaRM
                                    (CITACION JUDICIAL)
                                                                                                                          I LEE
    NOTICE.TO DEFENDANT:
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             ceCbrp~                                 d DOES I through 10, inclusive,
                                                                                                          -GSA JUROUE1110. CLERK
    YOU ARE BEING SUED BY PLAINTIFF:                                                                                     3 Fdwards.
    (Lo EsrA.DEMANDANDO EL DEMANDANM:                                                                      'Ll Y     onf)
                                                                                                                            DEPUTY
     Mariah Boykins,


      NOTICEI You hava been sued. lbe dourl may dectde agghtt you Wthout ydur           beh
                                                                                         . V heard unim you mpoM vAtwn 30 days. Read ftinbrmation
     below.
         You hm 30 CALENDAR DAYS after fts.summons and legal pape              i rs, art seived on you to tie a written response at this court. and have a copy
     l emed 6n the plaintiff. A letter or phone call WO not ptotiapt you. YoLq VvMen response must be in proper legal form if you want the court to
     s                                                                                                                                                , heae your
     case. Ttwe. rnay Oe it couit form that you can um for your response.. You can ArW these oowt forms and morot-ndormattan at the Californta.Courts
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     L: Paul Marikin, Esq., 4.655 CaSs 8t:, Ste. 1.1 2, San Diego,, Ca 92109, (800)219-3577
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                                                                            SUMMONS
      Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 3 of 12




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        L. Paul Mankin (SBN 264038).
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        The Law Office of L. Paul Mankin                                                                   '1. i ~'t} 1©i~i ~; .! .
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 2      4655 Cass St., Ste. 112
        San Diego, Ca92109                                                                  I:V. S.A >Llsi'gUf.liW..CLER
 3      T: (800) 219-3577
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        F:(323) 207-3885          „         ~'~ B~EN ~B~IGNED TO
4
        pmarikin@Paulmankin.c ~ 9Da~E C:~ai~$ eq
 5      i Attorney for Plaintiff        ~~B~~E~ f 4~ FOR AL,, OURPOSe%
         MARI .AH BOYKINS            INCI`UDtNG TRIAI.
 fi

 7                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                      FOR THE COUNTY OF SAN JOAQUIN
 9
                                              LIMITED JURISDICTION
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        NiAItIAH BOYKINS,                                    ase No.::       8Vx-cv-1-.-1V +- 1 .-2016-
                                                                         ....___.w._......._.._..._ _._W.._...._~.._._....,.___~ ............._._..._.._--~
12
                        Plaintiff,                          CUMPLAINT AND DEMAND FOR
13                                                          JURY TRIAL FOR;
                 vs.
14'
                                                            1. VIOLATTONS: OF THE
15                                                             ROSENTHAL FAIR DEBT
         CREDIT ACCEPTANCE.CORPORATION,.                       COLLECTION PRACTICES ACT
16       and DUES 1 through 10, inclusive,                     ICAL, CIV. CODE § 17881
:17                      Defendant(s)..
                                                            2; VIOLATIONS OF THE TELEPHONE
18                                                             C+CINSUMER PRUTECTION ACT .(47
                                                              U.5.C: §.227j
19
za ;                                                        (AMOUNT NOT T.O EXCEED $10;000) >
21'

22                                         COMPLAINT.FOR DAMAGES
23 ';                                              INTRODUCTION
24 '             l.      Mariah Boykins ("Plaintiff') brings this action to secure redress from Credit
25       Acceptance Corporation ("Defendant") for violations of the :Rosc:nthal Fair Debt Coilec:t:ion
26       Pract'rces Act [CAL. CIV: CODE § 1788] .and for vioiations of the Telephone Consumer
27 Protection Act [47 U:S:C. § 2271' .
28 lIL


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         Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 4 of 12



     L. Paul Mankin (SBN 264038)
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     The Law Office of L. Paul Mankin
 2   4655 Cass St., Ste. 112
     San Diego, Ca 92109
 3   T: (800) 219-3577
 4   F:(323) 207-3885
     pmankin@Paulmankin.com
 5   Attorney for Plaintiff
     MARIAH BOYKINS
 6
 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                FOR THE COUNTY OF SAN JOAQUIN
 9
                                         LIMITED JURISDICTION
10
11
     MARIAH BOYKINS,                               Case No.:
12
                   Plaintiff,                      COMPLAINT AND DEMAND FOR
13                                                 JURY TRIAL FOR:
            vs.
14
                                                    1. VIOLATIONS OF THE
15                                                     ROSENTHAL FAIR DEBT
     CREDIT ACCEPTANCE CORPORATION,                    COLLECTION PRACTICES ACT
16   and DOES 1 through 10, inclusive,                 [CAL. CIV. CODE § 17881
17                 Defendant(s).
                                                   2. VIOLATIONS OF THE TELEPHONE
18                                                    CONSUMER PROTECTION ACT [47
                                                      U.S.C. § 2271
19
20                                                 (AMOUNT NOT TO EXCEED $10,000)

21
22                                 COMPLAINT FOR DAMAGES
23                                         INTRODUCTION
24          1.     Mariah Boykins ("Plaintiff') brings this action to secure redress from Credit
25   Acceptance Corporation ("Defendant") for violations of the Roscnthal Fair Debt Collection
26   Przictices Act [CAL. CIV. CODE § 1788] and for violations of the Telephone Consumer
27   Protection Act [47 U.S.C. § 227].
28



                                                                      COMPLAINT FOR DAMAGES
          Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 5 of 12



 1                                                 PARTIES
 2
       2.       Plaintiff Mariah Boykins ("Plaintiff'), a natural person who at all times herein
 3
 4 mentioned was a resident of the City of Stockton, in San Joaquin County, and State of
     California and is a"debtor" as defined by Cal. Civ. Code § 1788.2(h).
 5
         3. At all relevant times herein, Defendant, Credit Acceptance Corporation (hereinafter
 6 "Defendant"), was a company engaged, by use of mails and telephone, in the business of
 7
    collecting a debt from Plaintiff which qualifies as a"consumer debt" as defined by Cal. Civ.
 8 Code § 1788.2(f). Defendant regularly attempts to collect debts alleged to be due another, and
 9   therefore is a"debt collector" as defined by the RFDCPA, Cal. Civ. Code § 1788.2(c).
10       4. Plaintiff does not know the true names and capacities, whether corporate, partnership,
11   associate, individual or otherwise, of Defendants sued herein as Does 1 through 10, inclusive,
12   and therefore names said Defendants under provisions of Section =174 of the California Code of

13   Civil Procedure.
        5. Plaintiff is informed and believes, and on that basis alleges that Defendants Does 1
14
15 through 10 are in some manner responsible for acts, occurrences and transactions set forth
     herein and are legally liable to Plaintiff.
16
17                                           FACTUAL ALLEGATIONS

18
         6. At all times relevant to this action, Defendant owned, operated and/or controlled
19 telephone numbers (734) 742-1035. At all times relevant to this action, Defendant called
20
     Plaintiff from, but not limited to the forgoing telephone numbers for the purpose of collecting
21 the alleged debt.
22       7. Within one year prior to the filing of this action, specifically on or around March of
23   2016, Defendant contacted Plaintiff on Plaintiff's cellular telephone number ending in -5138 to
24   collect money, property or their equivalent, due or owing or alleged to be due or owing from a
25 natural person.

26      8. This financial obligation was primarily for personal, family or household purposes and

27   are therefore "debt(s)" as that term is defined by 15 U.S.C. § 1692a(5).

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                                                                          COMPLAINT FOR DAMAGES I
         Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 6 of 12



       9. The alleged debt owed by Plaintiff does not belong to Plaintiff. Plaintiff has informed
 1
 2 Defendant on several occasions that Defendant is contacting the wrong person. Despite
     Plaintiff s demand, Defendant continued to contact or attempt to contact Plaintiff.
 3
         10. Within one year prior to the filing of this action, Defendant caused Plaintiff's telephone
 4
     to ring repeatedly and continuously to annoy Plaintiff.
 5
         11. Defendant communicated with Plaintiff with such frequency as to be unreasonable
 6 under the circumstances and to constitute harassment. The frequency of attempted
 7   communications with Plaintiff evidence Defendant's intent to harass Plaintiff.
 8       12. Defendant contacted or attempted to contact Plaintiff on a virtual daily basis.
 9       13. As an illustrative example, Defendant contacted or attempted to contact Plaintiff on the
10   following dates: March 5, 2016 at 7:02 a.m.; March 7, 2016 at 8:40 a.m.; March 8, 2016 at 7:28

11   a.m.; and March 13, 2016 at 8:06 a.m.
        14. Defendant contacted or attempted to contact before 8 a.m. (Plaintiff's local time).
12
     California law prohibits such contact.
13
         15. The natural and probable consequences of Defendant's conduct were to harass, oppress
14
     or abuse Plaintiff in connection with the collection of the alleged debt.
15
        16. At all times relevant to this action, while conducting business in California, Defendant
16
     has been subject to, and required to abide by, the laws of the United States, which included the
17 TCPA and its related regulations that are set forth at 47 C.F.R. § 64.1200 ("TCPA
18 Regulations"), as well as the opinions, regulations and orders issued by the courts and the FCC
19   implementing, interpreting and enforcing the TCPA and the TCPA regulations.
20      17. At all times relevant to this action, Defendant owned, operated and or controlled an
21 "automatic telephone dialing system" as defined by TCPA 47 U.S.C. § 227(a)(1) that

22   originated, routed and/or terminated telecommunications.

23      18. Within four years prior to the filing of this action, Defendant called Plaintiff at
24 Plaintiff's cellular telephone number multiple times using an artificial prerecorded voice or
25 using equipment which has the capacity to store or produce telephone numbers to be called,
26 using random or sequential number generator and to dial such numbers, also known as an
     "automatic telephone dialing system" as defined by TCPA 47 U.S.C. § 227(a)(1)(A) and (B).
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                                                     -3-

                                                                            COMPLAINT FOR DAMAGES I
          Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 7 of 12



         19. Defendant never received Plaintiff's consent to call Plaintiff on Plaintiff's cellular
 1
 2 telephone, to the extent it ever existed, using an"automatic telephone dialing system" or an
     "artificial or prerecorded voice" as defined in 47 U.S.C. § 227 (a)(1).
 3
         20. Even assuming arguendo that Defendant did have consent to call Plaintiff on Plaintiff s
 4
     cellular telephone using an ATDS, that consent was subsequently revoked by Plaintiff.
 5
         21. At no time have Plaintiff and Defendant had an "established business relationship" as
 6   defined by 47 U.S.C. § 227(a)(2).
 7       22. Defendant is not a tax exempt nonprofit organization.
 8       23. Defendant's violation of the TCPA was willful. Defendant's violation of the TCPA was
 9   willful because Plaintiff requested that Defendant cease calling Plaintiff.
10                                    FIRST CAUSE OF ACTION
11                        (Violation of the RFDCPA, CAL. Crv. CoDE § 1788)
12          24.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint
13   as though fully stated herein.
14          25.     Defendant violated the RFDCPA. Defendant's violations include, but are not
15   limited to, the following:
16          (a)     Defendant violated CAL. CIV. CODE § 1788.11(d) by causing a telephone to ring
17   repeatedly or continuously to annoy the person called; and
18          (b)     Defendant violated CAL. CIV. CODE § 1788.11(e) by communicating, by
19. telephone or in person, with the debtor with such frequency as to be unreasonable and to
20   constitute an harassment to the debtor under the circumstances; and
21          (c)     Defendant violated CAL. CIV. CODE § 1788.17 by collecting or attempting to
22   collect a consumer debt without complying with the provisions of Sections 1692b to 1692j,
23   inclusive, of ... Title 15 of the United States Code (Fair Debt Collection Practices Act).
24                  (i)      Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
25   1692d by engaging in conduct, the natural consequence of which is to harass, oppress or abuse
26   any person in connection with the collection of the alleged debt; and
27
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                                                                             COMPLAINT FOR DAMAGES
         Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 8 of 12



 1                   (ii)       Defendant violated CAL. CIV. CODE § 1788.17 by violating 15 U.S.C. §
 2   1692d(5) by causing Plaintiff's phone to ring or engaging Plaintiff in telephone conversations
 3 repeatedly; and
 4           26.     Defendant's acts, as described above, were done intentionally with the purpose
 5   of coercing Plaintiff to pay the alleged debt.
 6           27.     As a result of the foregoing violations of the RFDCPA, Defendant is
 7   liable to Plaintiff for actual damages, statutory damages, and attorney's fees and costs.
 8                                     SECOND CAUSE OF ACTION
 9                                (Violations of the TCPA, 47 U.S.C. § 227)
10           28.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint
1l   as though fully stated herein.
12           29.     Defendant violated the TCPA. Defendant's violations include, but are not
13   limited to the following:
14           (a)     Within four years prior to the filing of this action, on multiple occasions,
15   Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part, "It shall
16   be unlawful for any person within the United States ... to make any call (other than a call
17   made for emergency purposes or made with the prior express consent of the called party) using
18   any automatic telephone dialing system or an artificial or prerecorded voice — to any telephone
19   number assigned to a... cellular telephone service ... or any service for which the called party
20   is charged for the call.
21           (b)     Within four years prior to the filing of this action, on multiple occasions,
22   Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff's cellular telephone using
23   an artificial prerecorded voice or an automatic telephone dialing system and as such, Defendant
24   knowing and/or willfully violated the TCPA.
25          30.      As a result of Defendant's violations of 47 U.S.C. § 227, Plaintiff is entitled to
26   an award of five hundred dollars ($500.00) in statutory damages, for each and every violation,
27   pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant knowingly and/or
28   willfully violated the TCPA, Plaintiff is entitled to an award of one thousand five hundred

                                                      -5-
                                                                             COMPLAINT FOR DAMAGES
         Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 9 of 12



 1   dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
 2   U.S.C. § 227(b)(3)(C).
 3           31.    Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the
 4 future.
 5                                  VII. PRAYER FOR RELIEF
 6           WHEREFORE, Plaintiff respectfully requests that judgment be entered against
 7   Defendant for the following:
 8           (a)    An injunction prohibiting Defendant from contacting Plaintiff on Plaintiff's
 9                  cellular telephone using an automated dialing system pursuant to 47 U.S.C. §
10                  227(b)(3)(A); and
11           (b)    Actual damages pursuant to CAL. Civ. CODE § 1788.30(a); and
12           (c)    As a result of Defendant's violations of 47 U.S.C. § 227(b)(1), Plaintiff is
13                  entitled to and requests five hundred dollars ($500.00) in statutory damages, for
14                  each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B); and
15           (d)    As a result of Defendant's willful and/or knowing violations of 47 U.S.C. §
16                  227(b)(1), Plaintiff is entitled to and requests treble damages, as provided by
17                 statute, up to one thousand five hundred dollars ($1,500.00), for each and every
18                  violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);
19                  and
20           (e)    Statutory damages pursuant to CAL. Civ. CODE § 1788.30(b); and
21           (f)    Costs and reasonable attorney's fees pursuant to CAL. Civ. CODE § 1788.30(c);
22                  and
23           (g)    Awarding Plaintiff any pre judgment and post judgment interest as may be
24                  allowed under the law; and
25           (h)    For such other and further relief as the Court may deem just and proper.
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27
28

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                                                                            COMPLAINT FOR DAMAGES I
     Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 10 of 12



 1                              DEMAND FOR JURY TRIAL

 2     Please take notice that Plaintiff demands a trial by jury in this action.
 3
 4                                            RESPECTFULLY SUBMITTED,
       Date: April 1, 2016
 5
 6
                                                                   Paul Mankin, Esq.
 7                                                                 Attorney for Plaintiff

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                                                                       COMPLAINT FOR DAMAGES I
             Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 11 of 12



                                     SUPERIOR COURT OF CALIFORN'IA
                                            San Joaquin County
                                                  222 E. Weber Avenue
                                                  Stockton; CA 95201

        NOTICE OF CASE ASSIGNMENT AND SCHEDULING INFORMATION AND NOTICE OF HEARING

                                        Case Number: 5TK-CU LNPI-2016=0004713.

A Case Management Conference: has been scheduled for your case as indicated below; A copy of this information must'be
provided with the complaint or: petition, and with any cross=complaint that narries a new 'party to the underlaying action.
Disr.egard hearing date if'that date has expired.

Hearing; Case Management Conference Date: 11f 15tZ.016                             Time;   8:45 AM

              JUDGE                              COURT LOCATION                  DEPARTMENTIROOM                PHONE
         Carter Holly                                   Stockton                              .41             (209)992=5693


[ x_] ADR & Scheduling information is available on court website @ sjCourts:orgJself"help


  :1. You must:

              a. Serve ell narned defendanYs and file proofs of service on those defendants with the courf
                 Within 60 days of the. filing of the .complaint. (CRC 3.110)

              b. File and serve a completed Case:Managenaent Conference Statement (use of'JC form Ctvl-
                 110 is mandatory) at least 15 days before the Gase Management Conference,

              C. Meet and Confer, in person or by telephone, to consider each of the issues identified in CRC.
                 3:727 no later than .30 Calendar days before:the date set for the Case Management
                  Conference. (CRC 3.724)

              d. Co{tection cases are managed, pursuant to CRC.3.740.

   2. You. may appearin person or. by telephone at the Case Management Conference. To make arrangements
       for telepYionic appearanGe you must call Court Call; at (310) 572-4670 cir (888) 882-6878 at least five (5)
       court days prior to the hearing.


       Visit our website @ www:sico.urts:ora for more information regarding civil cases, local rules and forms.




       Date; 05I16/20.16                                                       _ Donna Edwards          ,peputy Clerk

   NOTICE OF CASE ASSlGNMENT AND SCHEDULIN. G INFf3RMAT10N AND NOTIC.E C?F.HEARING
Case 2:16-cv-01448-JAM-AC Document 1-1 Filed 06/24/16 Page 12 of 12
